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              In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                       No. 13-992V
                                   (Not to be published)

*****************************
                            *
DONALD MEMMO,               *
                            *                                Filed: September 4, 2014
                Petitioner, *
                            *                                Decision by Stipulation; Attorney’s
          v.                *                                Fees & Costs
                            *
SECRETARY OF HEALTH AND     *
HUMAN SERVICES,             *
                            *
                Respondent. *
                            *
*****************************

Thomas P. Gallagher, NJ, for Petitioner.

Althea Walker Davis, U.S. Dep’t of Justice, Washington, D.C., for Respondent.

                       ATTORNEYS’ FEES AND COSTS DECISION1

        On December 16, 2013, Donald Memmo filed a petition seeking compensation under the
National Vaccine Injury Compensation Program (Athe Vaccine Program@). On July 31, 2014, the
parties filed a stipulation detailing an amount to be awarded to Petitioner. I subsequently issued a
decision finding the parties’ stipulation to be reasonable and granting Petitioner the award
outlined by the stipulation.


1
  Because this decision contains a reasoned explanation for my action in this case, I will post this
decision on the United States Court of Federal Claims’ website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as
amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. § 300aa-12(d)(4)(B),
however, the parties may object to the posted decision’s inclusion of certain kinds of confidential
information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to
request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be available to the
public. (Id.)
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       On September 3, 2014, counsel for both parties filed another joint stipulation, this time
regarding attorneys’ fees and costs. The parties have stipulated that Petitioner’s counsel should
receive a lump sum of $23,205.59, in the form of a check payable to Petitioner and Petitioner’s
counsel. Additionally, the parties have stipulated that Petitioner should receive a lump sum of
$200.00, in the form of a check payable to Petitioner. These amounts represent sums to which
Respondent does not object.

        I approve the requested amount for attorneys’ fees and costs as well as the requested
amount for Petitioner’s out-of-pocket expenses as reasonable. Accordingly, an award of
$23,205.59 should be made in the form of a check payable jointly to Petitioner and Petitioner’s
counsel, Thomas P. Gallagher, Esq.; and an award of $200.00 should be made in the form of a
check payable to Petitioner. In the absence of a motion for review filed pursuant to RCFC
Appendix B, the clerk of the court SHALL ENTER JUDGMENT in accordance with the terms
of the parties’ stipulation.2


       IT IS SO ORDERED.
                                                          /s/ Brian H. Corcoran
                                                             Brian H. Corcoran
                                                             Special Master




2
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint
notice renouncing their right to seek review.
